                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION
                              No. 5:24-CV-00547-BO


 REPUBLICAN NATIONAL
 COMMITTEEE; and NORTH CAROLINA
 REPUBLICAN PARTY,
                         Plaintiffs,
                                                     MEMORANDUM OF LAW IN
               vs.                                    SUPPORT OF PLAINTIFFS’
                                                  EMERGENCY MOTION TO REMAND
 NORTH CAROLINA STATE BOARD OF                       TO STATE COURT AND FOR
 ELECTIONS; KAREN BRINSON BELL,                    EXPEDITED CONSIDERATION OF
 in her official capacity as Executive                      THE SAME
 Director of the North Carolina State Board
 of Elections; ALAN HIRSCH, in his
 official capacity as Chair of the North
 Carolina State Board of Elections; JEFF
 CARMON, in his official capacity as
 Secretary of the North Carolina State Board
 of Elections; STACY EGGERS IV, KEVIN
 N. LEWIS, and SIOBHAN O’DUFFFY
 MILLEN, in their official capacities as
 members of the North Carolina State Board
 of Elections,

                                Defendants,

 and

 THE DEMOCRATIC NATIONAL
 COMMITTEE,

                      Intervenor-Defendant.


       Plaintiffs Republican National Committee (“RNC”) and the North Carolina Republican

Party (“NCGOP”) (collectively, “Plaintiffs”) submit this Memorandum of Law in support of their

Emergency Motion to Remand to State Court.
                                          INTRODUCTION

        In this case, Plaintiffs filed suit in North Carolina state court against the North Carolina

State Board of Elections (“NCSBE”) and its members Alan Hirsch, Jeff Carmon, Siobhan Millen,

Stacy Eggers IV, and Kevin Lewis in their respective official capacities, and the NCSBE’s

Executive Director Karen Brinson Bell (collectively “Defendants”) seeking a Writ of Mandamus

compelling Defendants to fulfill their duties as set forth in N.C. Gen Stat. § 163-82.11 et seq.

Plaintiffs complaint asserts that Defendants must carry out their to duties—all of which arise under

state law—to ensure that only qualified voters are able to vote in the general election in North

Carolina this coming November. Due to the nature of the relief requested and the exigent

circumstances which exist due to the impending November 2024 election, Plaintiffs request the

Court treat this Motion on an expedited basis.1

                                      STATEMENT OF FACTS

        Plaintiffs filed their Verified Complaint in Wake County Superior Court on August 23,

2024 wherein Plaintiffs sought a writ of mandamus and a permanent injunction arising from

Defendants’ violations of state law and the state constitution. (Compl. ¶¶ 77-96). Defendants’

counsel accepted service of the Complaint on August 27, 2024. Thereafter, on August 29, 2024

Plaintiffs filed a motion to expedite discovery and served a narrow set of discovery requests upon

Defendants concurrently with the motion. Then, on September 23, 2024, Defendants noticed their

removal to this Court (“Removal”).




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  On October 1, 2024 this Court granted Defendants’ Motion requesting expedited briefing regarding their
motion to dismiss and in doing so, the Court set expedited briefing deadlines. [Dkt. no. 36]. The Court also
noticed a hearing on Defendants’ Motion to Dismiss for Thursday, October 17, 2024. As set forth in the
accompanying motion, Plaintiffs respectfully request that the resolution of the present motion to remand be
treated on the same timeline and with a hearing consolidated for the same date as Defendants’ Motion to
Dismiss. [Dkt. no. 30]
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       In support of their Removal, Defendants cite several bases—28 U.S.C. §§ 1331, 1441(a),

1443(2), and 1367(a). (Dkt. no. 1, pp. 1-2.). Critically, the Removal claims that Plaintiffs’

complaint brings “claims arising under the laws of the United States” and specifically, the Help

America Vote Act (“HAVA”), 52 U.S.C. § 20901. (Dkt. no. 1, ¶¶ 1-2). This, Defendants claim,

provides the Court with original jurisdiction. Id. However, a simple reading of Plaintiffs’

Complaint reveals that it is devoid of any causes of action arising under HAVA or any federal law.

See generally (Compl. at ¶¶ 77-96). The Removal also claims that Plaintiffs’ requested relief—

i.e., requiring NCSBE to identify all persons who were allowed to register to vote in violation of

North Carolina law and working to confirm the identity of those who are eligible voters and remove

those who are not—would force Defendants to violate federal law, specifically, 52 U.S.C.

§§10101(a)(2) and 20507(c)(2)(A). (Dkt. no. 1, ¶¶ 4-5). Yet again, a plain reading of the Complaint

shows that Plaintiffs are not asking for relief which would violate either of these statutes, instead,

Plaintiffs seek a uniform system which confirms legitimate voters and removes illegitimate ones.

(Compl. at pp. 19-20). Importantly, Plaintiffs request that, to the extent removal is not possible at

this date—which the Removal contends it is not—that Defendants be ordered to have such voters

vote a provisional ballot pending the confirmation of their status as legitimate voters under

applicable law. Id. at p. 19 ¶ 2. Thus, Defendants’ arguments under 28 U.S.C. §1443(2) are

contrary to the face of the Complaint. Due to the foregoing, Plaintiffs file this Motion in order to

remand the case to state court so it may resolve these issues of state law.

                                          LEGAL STANDARD

       A defendant may remove a state court action to federal court only if the federal court would

have been able to exercise original jurisdiction based on the face of the state court complaint. 28




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U.S.C. § 1441(a). If, at any time, it appears that a federal court lacks subject matter jurisdiction, it

must remand the case to the state court. 28 U.S.C. § 1447(c).

        In order for a federal court to exercise federal question jurisdiction, the action must arise

under “the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. A “suit arises

under the law that creates the cause of action.” American Well Works v. Layne, 241 U.S. 257, 260

(1916). The presence or absence of federal question jurisdiction is governed by the ‘well-pleaded

complaint rule,’ which provides that federal jurisdiction exists only when a federal question is

presented on the face of the plaintiff’s properly-pleaded complaint. The rule makes the plaintiff

the master of the claim.” Caterpillar Inc. v. Williams, 482 U.S. 386, 392 (1987) (internal citation

omitted). Indeed, a plaintiff may avoid federal jurisdiction “by exclusive reliance on state law.”

Id. In this case, Plaintiffs seek to compel Defendants to perform their duties as required exclusively

by the laws of the State of North Carolina. Their claims arise under state statutes and the State

Constitution. Defendants must not be allowed to usurp plaintiffs’ role as master of their claim by

misconstruing the action as one that arises under the laws of the United States.

                                            ARGUMENT

        The face of Plaintiffs’ complaint raises no federal question—both claims for relief

expressly arise under state law. Whether a plaintiff’s claim arises under federal law as opposed to

state law is determined by the application of the well-pleaded complaint rule which requires that a

court “ordinarily . . . look no further than the plaintiff’s [properly pleaded] complaint in

determining whether a lawsuit raises issues of federal law capable of creating federal-question

jurisdiction under 28 U.S.C. § 1331.” Pinney v. Nokia, Inc., 402 F.3d 430, 442 (4th Cir. 2005)

(quoting Custer v. Sweeney, 89 F.3d 1156, 1165 (4th Cir. 1996) (alteration in original). However,

federal-question jurisdiction can sometimes exist in a small group of otherwise state law “cases in



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which a well-pleaded complaint establishes . . . that the plaintiff’s right to relief necessarily

depends on resolution of a substantial question of federal law, in that federal law is a necessary

element of one of the well-pleaded . . . claims.” Id. (quoting Christianson v. Colt Indus. Operating

Corp., 486 U.S. 800, 808 (1988)). Under the substantial federal question doctrine, the burden lies

on the defendant to establish “(1) that the plaintiff’s right to relief necessarily depends on a

question of federal law, and (2) that the question of federal law is substantial.” Id. (quoting Dixon

v. Coburg Dairy, Inc., 369 F.3d 811, 816 (4th Cir. 2004). Here, Defendants have not established

either of the two necessary elements to satisfy the substantial federal question inquiry.

   1. Defendants fail to establish that plaintiffs’ claim for relief necessarily depends on a
      question of federal law.

       “A plaintiff’s right to relief necessarily depends on a question of federal law when ‘it

appears that some . . . disputed question of federal law is a necessary element of one of the well-

pleaded state claims.” Id. (quoting Franchise Tax Bd. of Cal. V. Constr. Laborer’s Vacation Trust,

463 U.S. 1, 8 (1983). In their Notice of Removal, Defendants assert that Plaintiffs bring claims

arising under the laws of the United States and claims for relief which would violate federal law.

(Dkt. no. 1. ¶¶ 2–6). However, they fail to point to any section of the Complaint in which Plaintiffs

raise a disputed question of federal law. Indeed, the face of Plaintiffs’ Complaint raises no federal

questions, as all of the claims expressly arise under state law. North Carolina General Statute §

163-82.11 establishes that Defendants are required to maintain accurate and updated statewide

voter registration lists (“voter rolls”). Part of that state mandate for accuracy includes compliance

with the requirements of Section 303 of the Help America Vote Act (“HAVA”). Id. at § 163-

82.11(c) (“The State Board of Elections shall update the statewide voter registration list and

database to meet the requirements of section 303(a) of [HAVA].”) But there is no dispute about




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compliance with federal law. The NCSBE admitted in a 2023 meeting 2 and subsequent Order3

that it did not, until 2023 comply with then existing federal law. Even if Plaintiffs had referenced

this point about federal law in their Complaint, it would not change the analysis because the federal

law is nothing but a reference point—the Defendants’ lack of compliance with HAVA has already

been admitted elsewhere. Plaintiffs do not dispute the meaning of the Section 303(a) of HAVA in

their complaint, and the record reflects that Defendants do not dispute that they failed to comply

with HAVA. Plaintiffs’ first assertion is that a straightforward application of whether admitted

noncompliance with law gives rise to a claim for relief under North Carolina’s General Statutes

that its voter rolls are indeed incorrect.

        Furthermore, Plaintiffs’ second claim for relief arises under Article I, Section 19 of the

North Carolina State Constitution which protects North Carolinians’ fundamental right to vote.

(Compl. ¶¶ 89–96). Similar to the statutory argument above, no one disputes the meaning of

Section 303(a) of HAVA. Instead, Plaintiffs point out that NCBE’s actions are noncompliant with

HAVA based on a straightforward application of the statute as well as the undisputed fact of

noncompliance with the plain language of HAVA, and question under whether those facts give

rise to a complaint under the North Carolina Constitution. Additionally, the remedy provisions of

HAVA itself—52 U.S.C. §§ 21111-21112—are silent on what to do if a state admits it violated

HAVA but refuses to remedy the violation. Because HAVA is silent on the matter, Plaintiffs are

entitled to seek a relief in state court arising from Defendants’ violations of state law. In sum,




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  Meeting documents and a recording of NCSBE’s November 28, 2023 meeting is available here:
dl.ncsbe.gov/?prefix=State_Board_Meeting_Docs/2023-11-28/
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      The      December     6,     2023     Order   from     NCSBE       is    available here:
https://s3.amazonaws.com/dl.ncsbe.gov/State_Board_Meeting_Docs/Orders/Other/2023%20HAVA%20
Complaint%20-%20Snow.pdf


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Defendants wholly fail to establish that a “disputed question of federal law is a necessary element”

of Plaintiffs’ claims under state law.

       Similarly, Plaintiffs’ claims for relief would not result in any violation of federal law for

the simple reason that, as established above, Plaintiffs seek a uniform system applicable to all

persons registered to vote under NCSBE’s improper registration form and, to the extent removal

is not possible prior to the November election, then Plaintiffs ask those persons to be required to

vote a provisional ballot subject to confirmation of their eligibility to vote. (Compl. pp. 19-20).

Thus, the face of Plaintiffs’ Complaint defeats Defendants arguments from the outset.

   2. Defendants fail to establish that the question of federal law is substantial.

       Even assuming arguendo that Plaintiffs’ right to relief does necessarily depend on a

question of federal law, Defendants have failed to establish the second element of the inquiry,

namely, that the question of federal law is substantial. The central consideration for what makes a

question substantial for the purposes of federal-question jurisdiction is that the issue is

“’important[t] . . . to the federal system as a whole,’ and not just to the ‘particular parties in the

immediate suit.” Burrell v. Bayer Corp., 918 F.3d 372, (4th Cir. 2019) (quoting Gunn v. Minton,

568 U.S. 251, 260 (2013)). “[T]here is a high bar for treating a federal issue as sufficiently

‘substantial’ under the . . . § 1331 analysis. Id. at 385. Indeed, “any doubt” as to substantiality is

to be resolved against Defendants as they “bear[ ] the burden of establishing jurisdiction, especially

given the significant federalism implications of removing a state-law action from state court.” Id.

at 384. Generally speaking, a substantial question “will involve a ‘pure issue of law,’” rather than

being “fact-bound and situation-specific.” Id. (quoting Empire Healthchoice Assurance, Inc. v.

McVeigh, 547 U.S. 677, 700-01 (2006). Here, Plaintiffs’ complaint under state law is intensely

fact bound and situation specific to the ways that Defendants failed to comply with HAVA as they



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are required by North Carolina General Statute § 163-82.11(c) and the state Constitution. This is

true even granting the fact that Defendants admitted their failure to comply.

        Plaintiffs’ complaint points out that prior to December 2023, NCSBE used voter

registration forms that failed to collect either the registrant’s driver’s license number or the last

four digits of their social security number. According to the standards established by HAVA, states

must provide either of those two pieces of information before a registration can be processed. 52

U.S.C. § 21083(iii). In fact, § 21083(a)(5) prevents a state from accepting a voter registration form

for Federal office unless the form includes the listed information. Id. Only if a registrant

affirmatively confirms they do not have either form of identification, the state must “assign the

applicant a number which will serve to identify the applicant for voter registration purposes . . .

[which] shall be the unique identifying number assigned under the list.” Id. at § 21083(a)(5)(A)(ii).

As a result of these errors, voters did not utilize the catchall provision of § 21083(a)(5)(A)(ii), as

the registration forms failed to make registrants aware that the driver’s license or social security

number identifying information was necessary for the application to be processed. Thus, any

affirmative attestation regarding one’s lack of those relevant documents was impossible. Plaintiffs’

Complaint explains these failures in great detail as well as NCSBE’s acknowledgement of these

shortcomings. (Compl. ¶¶ 29–61). The question of NCSBE’s compliance with HAVA is

manifestly fact bound and situation specific and, at the very least, Plaintiffs’ allegations raise some

doubt as to the substantiality of the question. Indeed, Defendants admitted that their actions violate

the state statute. Even granting for the sake of argument that the admission of the NCSBE makes

this a legal question, that would be a question under state law and not a substantial question of

federal law. Therefore, the question of substantiality should be resolved against NCSBE as they

have failed to establish that a “pure issue of law” is at stake in this case.



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    3. Defendants’ argument for removal under 28 U.S.C. § 1443(2) is unavailing because
       Defendants are not refusing to do any act on the ground that it would be inconsistent
       with a law providing for equal rights.

        In their Complaint, Plaintiffs’ claims for relief are based on Defendants’ violations of both

N.C. Gen. Stat. § 163-82.11 and Article I, Section 19 of the state Constitution. (Compl. ¶¶ 77–96).

In their Notice, Defendants state that Plaintiffs allege that Defendants have refused to take “certain

actions.” (Dkt. no. 1, ¶ 4). Defendants’ claim that their refusal to take those actions is based on

their duty to comply with 52 U.S.C. § 10101(a)(2) and 52 U.S.C. § 20507(c)(2)(A). (Dkt. no. 1, ¶

4). The allegations that Defendants have failed take “certain actions” merely point out how

Defendants have exacerbated the problem caused by their violation of state law by taking no

corrective action regarding 225,000 potentially ineligible voters participating in the 2024 General

Election in North Carolina.

        Section 1443(2) provides for removal of a civil action “[f]or any act under color of

authority derived from any law providing for equal rights, or for refusing to act on the ground that

it would be inconsistent with such law.” 28 U.S.C. 1443(2). Sitting en banc, the Fourth Circuit

noted that this statutory language “has been described as a text of exquisite obscurity.” Baines v.

City of Danville, Va., 357 F.2d 756, 759 (4th Cir. 1966) (en banc) (internal quotations omitted).

While the statute may be exquisitely obscure, the United States Supreme Court did provide

guidance as to its interpretation by pointing to the legislative history of the statute:

                The second phrase of 28 U.S.C. [§] 1443(2), “for refusing to do any act on
        the ground that it would be inconsistent with such law,” . . . was added by the House
        of Representatives as an amendment to the Senate bill during the debates on the
        Civil Rights Act of 1866. In reporting the House bill, Representative Wilson, the
        chairman of the House Judiciary Committee and the floor manager of the bill, said,
        ‘I will state that this amendment is intended to enable State officers, who shall
        refuse to enforce State laws discriminating in reference to (the rights created by
        [Section] 1 of the bill) on account of race or color, to remove their cases to the
        United States courts when prosecuted for refusing to enforce those laws.’



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City of Greenwood, Miss. v. Peacock, 384, U.S. 808, 824 n.22 (1966) (citing Cong. Globe, 39th

Cong., 1st Sess., 1367) (emphasis added).

       Here, Defendants have not claimed that they refused to enforce N.C. Gen. Stat. § 163-82.11

because the statute discriminates on account of race or color. Accordingly, removal under Section

1443(2) is unavailable to them. See, e.g., Burns v. Bd. of Sch. Comm’rs of City of Indianapolis,

Ind. 302 Fed. Supp. 309, 311-312 (S.D. Ind. 1969) (“[T]he privilege of removal is conferred . . .

only upon state officers who refuse to enforce state laws discriminating on account of race or

color.”) Defendants may well refuse to follow through on remedying their failure to enforce the

statute out of concern for compliance with 52 U.S.C.              § 10101(a)(2) and 52 U.S.C.

§ 20507(c)(2)(A), but refusing those remedies as proposed by Plaintiffs are different from refusing

to enforce state law on the grounds that it discriminates on the basis of race or color. Indeed,

Defendants agreed to follow the statutory language going forward, therefore foreclosing any

argument that they are refusing to enforce state law on the grounds that it is discriminatory.

(Compl. ¶ 54).

       In any event, granting Plaintiffs’ claim for relief would not be inconsistent with either

statute Defendants cite. Defendants admitted that the law requires voters to provide a Driver’s

License number or last four digits of a Social Security number, or otherwise attest that they have

not been issued such numbers, in order to register to vote. Defendants admitted that they failed to

enforce this requirement in the past, and they have agreed to enforce this requirement going

forward. Defendants do not, and cannot, assert that enforcing these legal requirements violates the

Materiality Provision of the Civil Rights Act, 52 U.S.C. § 10101(a)(2). Accordingly, they cannot

plausibly assert, as they do in the Removal Notice, that enforcing these requirements by seeking




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this information from registrants who did not previously provide it would run afoul of the

Materiality Provision.

           Nor would granting Plaintiffs’ requested relief run afoul of 52 U.S.C. § 20507(c)(2)(A),

which requires that states “complete … any program the purpose of which is to systematically

remove the names of ineligible voters from the official lists of eligible voters” at least 90 days

before a federal election. This provision does not apply here for two reasons. First, Plaintiffs have

already acknowledged that requiring such voters to cast a provisional ballot pending receipt and

confirmation of the required HAVA information—rather than removal from the voter rolls—may

be the only feasible option and expressly asked for such relief. See Dkt. no. 1-3, Prayer for Relief

at 19-20. Second, even if any such voter is removed from the rolls before the election 4 for failure

to supply the required information, such removal is not the completion of a program to

systematically remove the names of ineligible voters from the voter rolls, such as routine voter list

maintenance programs. Removal here would be the result of an individualized inquiry and request

that a voter supply the required information.

           In sum, the privilege of removal is simply not available to Defendants under these facts. In

order to avail themselves of removal under Section 1443(2), Defendants must claim that they have

refused to enforce state law on the grounds that it would be discriminatory on account of race or

color. Defendants have not done so. Instead, they have admitted that they simply failed to enforce

the law and agreed to comply going forward. Any refusal to act on Defendants’ part is a refusal to

go back and rectify the mistaken registrations it wrongfully accepted, not a refusal to enforce state

law. Defendants must correct their errors not just going forward, but take the steps suggested by

Plaintiffs to ensure that Defendants errors do not lead to upwards of 225,000 ineligible ballots



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    The statute would not be implicated at all if removal from the voter rolls occurred after the general election.
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being cast in North Carolina in just a matter of weeks. Therefore, Defendants’ attempt to remove

this action under 28 U.S.C. 1443(2) should be rejected by this Court and the case immediately

remanded.

                                             CONCLUSION

       As Plaintiffs point out in their complaint, the NCSBE has potentially jeopardized the

integrity of the general election in North Carolina by improperly registering over 225,000 people

to vote with forms that failed to require collection of certain identification information prior to the

voter registration forms being processed. As a result of that failure, North Carolina’s voter rolls

include a vast number of voters who are potentially ineligible to vote. The integrity of the results

of the 2024 general election could be in jeopardy. Plaintiffs filed their complaint in state court on

August 23, 2024 and requested relief including a court approved plan to ensure that NCSBE’s

violations would be remedied in time to preserve the integrity of the general election. Defendants

waited a month before filing their notice of removal. As the November 5, 2024 election will soon

arrive, Plaintiffs make this emergency request to remand this case to the proper jurisdiction so that

a state court can provide a remedy for Defendants’ violations of state law, before potentially

225,000 improperly registered voters head to the polls. Given the nature of the relief requested and

fast approaching date of the general election, Plaintiffs respectfully request an emergency hearing

and expedited briefing schedule on this motion to be set as soon as is practical.


       This, the 1st day of October, 2024.

                                               NELSON MULLINS RILEY &
                                               SCARBOROUGH LLP

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            CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.2(f)(3)

       I hereby certify that this memorandum of law is in compliance with Local Rule 7.2(f)(3)

as the brief, including headings, footnotes, citations, and quotations, contains no more than 8,400

words as indicated by the computer’s word processing program.


       This, the 1st day of October, 2024.

                                      /s/ Phillip J. Strach
                                      Phillip J. Strach
                                      Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this day, I electronically filed the foregoing Motion with the Clerk

of the Court using the CM/ECF system, which will send electronic notification of such to all

counsel of record in the above-captioned matter.

       This, the 1st day of October, 2024.

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                                             SCARBOROUGH LLP

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